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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR419
                              )
          v.                  )
                              )
LUIS RAMIREZ,                 )                      ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

for dismissal (Filing No. 53).       The Court finds the motion should

be granted.   Accordingly,

           IT IS ORDERED that plaintiff’s motion is granted.

Leave to dismiss the indictment without prejudice as it relates

to the defendant Luis Ramirez is granted.            The indictment is

dismissed without prejudice as it pertains to the defendant Luis

Ramirez.

           DATED this 18th day of January, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
